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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               PINE BLUFF DIVISION

ALVIN BERNAL JACKSON                                                            PETITIONER

                                    5:03-CV-00405 SWW

RAY HOBBS, Director Arkansas
Department of Correction                                                       RESPONDENT

                                           ORDER

       Before the Court is Respondent’s motion to compel disclosure of Petitioner’s expert

report. Respondent filed his motion on September 15, 2011 and requests an expedited ruling in

order to avoid another continuance of the evidentiary hearing scheduled for October 28, 2011.

Petitioner has up to and including Tuesday, September 27, 2011 in which to file a response to

Respondent’s motion to compel disclosure (docket entry #83).

       IT IS SO ORDERED THIS 20TH DAY OF SEPTEMBER, 2011.

                                                    /s/Susan Webber Wright

                                                    UNITED STATES DISTRICT JUDGE
